         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION

                       CRIMINAL NO. 3:05CR277


UNITED STATES OF AMERICA )
                            )
                            )
         VS.                )           ORDER OF DISMISSAL
                            )
                            )
FIVE STAR AUTO MALL, INC.   )
MONROE AUTO MALL, INC.                  )
SOUTH BOULEVARD AUTO                    )
MALL, INC.                  )
                          )


     THIS MATTER is before the Court on the Government’s motion to

dismiss the indictment herein as to the captioned Defendants only.

     For the reasons stated in the motion and for cause shown,

     IT IS, THEREFORE, ORDERED that the Government’s motion to

dismiss is ALLOWED, and the indictment herein is hereby DISMISSED

WITHOUT PREJUDICE only as to the Defendants Five Star Auto Mall,

Inc., Monroe Auto Mall, Inc., and South Boulevard Auto Mall, Inc.




  Case 3:05-cr-00277-FDW-DCK     Document 430   Filed 03/21/06   Page 1 of 2
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                                 Signed: March 21, 2006




Case 3:05-cr-00277-FDW-DCK   Document 430    Filed 03/21/06   Page 2 of 2
